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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 BARRY MICHAELS,

           Plaintiff,

 v.                                                 Civil Action No. 18-cv-2906 (RDM)

 MATTHEW G. WHITAKER, in his
 official capacity as Acting Attorney
 General,

           Defendant.



                    MOTION FOR A STAY OF THE PROCEEDINGS
                     IN LIGHT OF LAPSE OF APPROPRIATIONS

          The United States of America hereby moves for a stay of the proceedings in the

above-captioned case.

          1.      At the end of the day on December 21, 2018, the appropriations act that

had been funding the Department of Justice expired and appropriations to the Department

lapsed. The Department does not know when funding will be restored by Congress.

          2.      Absent an appropriation, Department of Justice attorneys are prohibited

from working, even on a voluntary basis, except in very limited circumstances, including

“emergencies involving the safety of human life or the protection of property.” 31 U.S.C.

§ 1342.

          3.      Undersigned counsel for the Department of Justice therefore requests a

stay of all proceedings in this case until Congress has restored appropriations to the

Department.




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          4.     If this motion for a stay is granted, undersigned counsel will notify the

Court as soon as Congress has appropriated funds for the Department. The Government

requests that, at that point, all current deadlines for the parties be extended commensurate

with the duration of the lapse in appropriations.

          5.     In accordance with Local Rule 7(m), counsel for Defendants conferred

with counsel for Plaintiff prior to filing this motion. Plaintiff consents to the requested

relief.

          Therefore, although we greatly regret any disruption caused to the Court and the

other litigants, the Government hereby moves for a stay of all proceedings in this case

until Department of Justice attorneys are permitted to resume their usual civil litigation

functions.

Dated: December 26, 2018                        Respectfully submitted,


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                                                /s/ Chetan A. Patil
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